1                                                                            Honorable Marc L. Barreca
                                                                                      Chapter 11 Sub V
2                                                                       Hearing Date: February 22, 2024
                                                                                Hearing Time: 9:30 a.m.
3                                                                                Location: Seattle, WA
                                                                       Response Due: February 15, 2024
4
5                               UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF WASHINGTON
6
7    In re:                                                 Case No. 23-11919-MLB
8
     HWC BURBS BURGERS, LLC,                                  NOTICE OF HEARING ON
9                                                             UNITED STATES TRUSTEE’S
                                           Debtor.            MOTION TO CONVERT OR
10                                                            DISMISS CHAPTER 11 CASE

11
              PLEASE TAKE NOTICE that the United States Trustee’s Motion to Convert or Dismiss
12
     Chapter 11 Case for Gross Mismanagement IS SET FOR HEARING as follows:
13
              Judge:   Marc L. Barreca                        Date:   February 22, 2024
14
              Place:   Courtroom 7106                         Time:   9:30 a.m.
15                     Seattle Federal Courthouse
16                     700 Stewart Street, 7th Floor
                       Seattle, Washington 98101
17
18            If you oppose the Motion, you must file your written response and all evidence in support

19   thereof, and serve the undersigned, NOT LATER THAN THE RESPONSE DATE, which is,

20   February 15, 2024. If no response is timely filed and served, the Court may, in its discretion,

21   grant the Motion prior to the hearing, without further notice, and strike the hearing.
             Dated: January 30, 2024
22
                                                     Respectfully submitted,
23
                                                     GREGORY M. GARVIN
24                                                   Acting U.S. Trustee for Region 18

25
                                                     /s/ Matthew J.P. Johnson
26                                                   Matthew J.P. Johnson, WSBA #40476
                                                     Attorney for the United States Trustee
27
28
      NOTICE OF HEARING - Page 1                                               Office of the United States Trustee
                                                                                         United States Courthouse
                                                                                   700 Stewart Street, Suite 5103
                                                                                          Seattle, WA 98101-1271
                                                                               206-553-2000, 206-553-2566 (fax)

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